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                                                                                                                               JAMES J. VILT, JR. _ CLERK
                                    UNITED STATESDISTRLCT COURT
                                    WESTERN DISTRH
                                         LOUISVILLJ

        ROBERT JAMES SWINT

        v.

        LORD BALTIMORE COMPANY et al. ,                                                                                  --,
                                                                                  f'  I

                                                   MEMOR

                Plaintiff Robert James Swint filed a pro i

        June 9, 2021 , ;the Court ordered Plaintiff within 3

        Court's general complaint form , prepare a summi
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        filing fee or file a non-prisoner application to pro

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        The Court warned Plaintiff that the failure to corr     ••,J
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        could result in dismissal of the action.                1•·'· N
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                Plaintiffs deadline has passed, yet Plainti     rn        I-',
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        or to otherwise take any action in this case. Rule
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        authorizes the involuntary dismissal of an action
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        an order of the court. See Jourdan v. Jabe, 951 F                        1••                          ,.
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        41 (b) recognize<; the power of the district court tc
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        Although federal courts afford prose litigants so,               =:....,.           C:--i~
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        sophistication, such as formal pleading rules, the               --:-w r- -•~
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        court deadlines and other procedures readily und,                                   ..,         -t    Ill
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        pro so litigant has altogether failed to pursue a ca             -= ,~ ,~ ;2:'Vl ,
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        explained, "the lenient treatment of pro se litigan              ="
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        litigant fails to comply with an easily understood                                     ;1?      (SI                                                 I        iD' _·
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